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VIA CM/ECF

July 2, 2021

The Honorable Patrick J. Schiltz
United States District Court
300 South Fourth Street
Minneapolis, MN 55415
schultz_chambers@mnd.uscourts.gov

          RE:        My Pillow, Inc. v. US Dominion, Inc., Case No. 21-cv-01015-PJS-DTS

Judge Schiltz:

I write on behalf of US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting
Systems Corporation (collectively, “Dominion”). On July 13, 2021, Dominion intends to file
motions to transfer under 28 U.S.C. § 1404(a) and dismiss under Federal Rules of Civil Procedure
12(b)(2), 12(b)(3), 12(b)(6), and 28 U.S.C. 1406(a). Rather than file two separate briefs with a
combined word count limit of 24,000 words, we request permission to file consolidated moving
and reply memoranda in support of these two motions with a word count not to exceed 20,000
words. (Dominion will of course endeavor to come in well under this word count in the end if
possible.)

Our request is based on our view of the benefits to the parties and the Court of consolidated
moving and reply memoranda. Our request is also based on the number of procedural,
jurisdictional, and substantive issues that the motion to transfer and the motion to dismiss will
address. At this time, these include (a) personal jurisdiction, (b) venue, (c) doctrines including
the first-filed doctrine that control related cases in multiple forums, and (d) failure to state a
claim upon which relief can be granted over the five counts in My Pillow’s complaint. By our way
of counting, permitting Dominion to treat these matters in consolidated moving and reply
memoranda trims the total number of words available to discuss these issues from 24,000 to
20,000. But even if the motion to transfer and motion to dismiss were required to be treated as
a single motion, the interests of justice would best be served by consolidated treatment of the
issues at the length Dominion requests.

For these reasons, Dominion requests that the Court permit Dominion to file a consolidated
moving memorandum and a consolidated reply memorandum of no more than 20,000 total
words in support of the motions it will file on July 13, 2021.
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                                           Very truly yours,




                                           John W. Ursu


c:   All Counsel of Record
